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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                              )
ANTEAUS N. YARBOUGH                           )     Case No.:
behalf of herself and other persons           )
similarly situated,                           )
                                              )     CLASS ACTION
      Plaintiffs,                             )     COMPLAINT
                                              )
      vs.                                     )
                                              )     JURY TRIAL DEMANDED
KAISER PERMANENTE GEORGIA                     )
REGION a/k/a KAISER                           )
PERMANENTE INSURANCE                          )
COMPANY                                       )
                                              )
      Defendant.                              )
                                              )

                                   COMPLAINT

      Plaintiff Anteaus N. Yarbough (“Plaintiff” or “Yarbough”), by and through her

attorneys brings this action for damages and other legal and equitable relief, stating

the following as her claims against Defendant Kaiser Permanente Georgia Region

a/k/a Kaiser Permanente Insurance Company (“Kaiser Permanente”):

                         PRELIMINARY STATEMENT

      1.     This case arises under the Americans with Disabilities Act, 42 U.S.C §

12101 et seq., as amended (“ADA”).

      2.     Plaintiff was a Kaiser Permanente employee with an actual, recorded, or
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perceived disability. She was cleared to work by her physician(s) and is qualified to

perform the essential functions of her specific job with or without an accommodation.

Plaintiff never had a work incident related to her actual, recorded, or perceived

disability that would give Kaiser Permanente a reasonable belief that Plaintiff was

unable to perform the essential functions of her job, or that Plaintiff posed a direct

safety threat to others because of her medical conditions.

      3.     Pursuant to a company-wide pattern and practice, Kaiser Permanente

singled out Plaintiff because of her actual, recorded, or perceived disability, and

demanded that Plaintiff disclose her medical condition to it. Plaintiff informed Kaiser

Permanente that she suffered from anxiety and depression in the Fall of 2018 and

again in May 2019.

      4.     Once Kaiser Permanente learned of her diagnosis it singled out the

Plaintiff to take what it termed as a “competency test” for the job she already

occupied.

      5.     In March 2019, the Plaintiff requested a reasonable accommodation

regarding taking the “competency test”, which was denied.                The specific

accommodation was a postponement until she was mentally stable to sit for the test.

Plaintiff’s request was denied and she and others were told that they had failed the

test, even though they did not receive their test scores.

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      6.     Kaiser Permanente tested the Plaintiff again in August 2019. Again, she

was not given her score; however, she was told that she had failed. Prior to taking the

test [July 24, 2019], the Plaintiff had again requested a postponement until she was

mentally stable enough to sit for it. As before, this request was denied outright.

      7      Kaiser Permanente categorically refused to accommodate the Plaintiff’s

request that she be allowed a postponement to take the test due to mental instability.

      8      Kaiser Permanente never followed up with Plaintiff regarding the

proposed request, never offered the Plaintiff any accommodations whatsoever, and

completely failed to engage in an interactive process regarding what accommodations

could be provided to Plaintiff.

I.    PARTIES

      9.     Yarbough is an individual who resides in College Park, Georgia.

      10.    Kaiser Permanente is a foreign corporation doing business in the

Northern District of Georgia. Kaiser Permanente’s headquarters are located at 3495

Piedmont Road NE, Atlanta, Georgia.

      11.    During all relevant times, Yarbough was an employee of Kaiser

Permanente within the meaning of the ADA. Kaiser Permanente was Yarbough’s

employer within the meaning of the ADA.




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II.     JURISDICTION AND VENUE

        12.   This action arises under the ADA 42 U.S.C § 12101 et seq.

        13.   Venue is proper under 28 U.S.C. § 1391 because a substantial part of the

events giving rise to this action occurred in the Northern District of Georgia.

III.    FACTUAL ALLEGATIONS

        14.   Yarbough began working for Kaiser Permanente on or about October

4, 2010 as a Customer Service Coordinator, in Atlanta, Georgia. Prior to her

termination she was a Patient Care Associate at Kaiser Permanente’s Cascade,

Georgia office.

        15.   Yarbough has been diagnosed with anxiety and depression and she

disclosed her medical condition to Kaiser Permanente in the Fall of 2018.

        16.   Yarbough has never had a work incident related to her anxiety and

depression, and her conditions are controlled through medication and therapy.

        17.   In 2019, the Defendant instituted what it called “competency test” for its

employees. These tests were given to employees even if they were already occupying

and performing satisfactorily in their current positions.

        18.   In March 2019, the Plaintiff requested a reasonable accommodation

regarding taking the “competency test”, which was denied.                The specific

accommodation was a postponement until she was mentally stable to sit for the test.

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Plaintiff’s request was denied and she and others were told that they had failed the

test, even though they did not receive their test scores.

      19.    Kaiser Permanente tested the Plaintiff again in August 2019. Again, she

was not given her score; however, she was told that she had failed. Prior to taking the

test [July 24, 2019], the Plaintiff had again requested a postponement until she was

mentally stable enough to sit for it. As before, this request was denied outright.

      20.    Kaiser Permanente categorically refused to accommodate the Plaintiff’s

request that she be allowed a postponement to take the test due to mental instability.

      21.    Kaiser Permanente never followed up with Plaintiff regarding the

proposed request, never offered the Plaintiff any accommodations whatsoever, and

completely failed to engage in an interactive process regarding what accommodations

could be provided to Plaintiff.

      22.    On November 8, 2019, the Plaintiff was terminated because she, “no

longer met the job requirements and was not successful passing the second attempt

of the competency test.”

      23.    Plaintiff timely filed a Charge of Discrimination with the Equal

Employment Opportunity Commission (“EEOC”), on or around April 22, 2020,

alleging violations of the ADA.

      24.    The EEOC issued Plaintiff a right to sue on August 5, 2020.

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IV.    CAUSES OF ACTION

                                      COUNT I

      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT,
           AS AMENDED (DISABILITY DISCRIMINATION)

       25.   Plaintiff is a qualified individual with an actual, recorded, and/or

perceived disability under the ADA.

       26.   Section 12112(a) of the ADA prohibits employers from discriminat[ing]

against a qualified individual on the basis of disability in regard to job application

procedures, the hiring, advancement, or discharge of employees, employee

compensation,job training, and other terms, conditions, and privileges of

employment.

       27.   Kaiser Permanente discriminated against Plaintiff on the basis of

disability in regard to discharge of employees, employee compensation, job training,

and other terms, conditions, and privileges of employment.

       28.   Because Kaiser Permanente violated 42 U.S.C. § 12112, Plaintiff has

suffered and will continue to suffer loss of income, emotional distress, and other

damages in an amount in excess of $75,000. Plaintiff is also entitled to attorneys’ fees

and costs incurred in connection with her claims.




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      29.    Kaiser Permanente committed the above-alleged facts with reckless or

deliberate disregard for the rights and safety of Plaintiff. As a result, Plaintiff is

entitled to punitive damages.

                                      COUNT II

   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, AS
                        AMENDED
              (UNLAWFUL MEDICAL REQUESTS)

      30.    Plaintiff is a qualified individual with an actual, recorded, and/or

perceived disability under the ADA.

      31.    Section 12112(d)(4)(A) of the ADA provides: A covered entity shall not

require a medical examination and shall not make inquiries of an employee as to

whether such employee is an individual with a disability or as to the nature or severity

of the disability, unless such examination or inquiry is shown to be job related and

consistent with business necessity.

      32.    Though it was neither job-related nor consistent with any business

necessity, Kaiser Permanente inquired as to whether Plaintiff is an individual with a

disability and as to the nature and severity of the disability.

      33.    Because Kaiser Permanente violated 42 U.S.C. § 12112(d)(4)(A),

Plaintiff has suffered and will continue to suffer loss of income, emotional distress,

and other damages in an amount in excess of $75,000. Plaintiff is also entitled to

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attorneys’ fees and costs incurred in connection with this claim.

      34.    Kaiser Permanente committed the above-alleged acts with reckless or

deliberate disregard for the rights of Plaintiff. As a result, Plaintiff is entitled to

punitive damages.

                                    COUNT III

   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, AS
                         AMENDED
                (FAILURE TO ACCOMMODATE)

      35.    Plaintiff is a qualified individual with an actual, recorded, and/or

perceived disability under the ADA.

      36.    Section 12112(a) of the ADA prohibits discrimination against

individuals with a qualified disability, and 42 U.S.C. § 122112(b)(5)(A) includes the

following in the definition of “discrimination”: [N]ot making reasonable

accommodations to the known physical or mental limitations of an otherwise

qualified individual with a disability who is an applicant or employee, unless such

covered entity can demonstrate that the accommodation would impose an undue

hardship on the operation of the business of such covered entity[.]

      37.    To the extent Plaintiff required accommodations, they were reasonable

and Kaiser Permanente did not provide them.




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      38.    Because Kaiser Permanente violated 42 U.S.C. § 12112(a), Plaintiff has

suffered and will continue to suffer loss of income, emotional distress, and other

damages in an amount in excess of $75,000. Plaintiff is also entitled to attorneys’ fees

and costs incurred in connection with her claims.

      39.    Kaiser Permanente committed the above-alleged acts with reckless or

deliberate disregard for the rights and safety of Plaintiff. As a result, Plaintiff is

entitled to punitive damages.

V.    PRAYER FOR RELIEF

      WHEREFORE, Yarbough prays for judgment against Kaiser Permanente as

follows:

      a)     That the practices of Kaiser Permanente complained of herein be

determined and adjudged to constitute violations of the ADA;

      b)     An injunction against Kaiser Permanente and its directors, officers,

owners, agents, successors, employees and representatives, and any and all persons

acting in concert with them, from engaging in each of the unlawful practices, policies,

customs and usages set forth herein;

      c)     For an award of damages arising from loss of past and future income,

and other damages, all in an amount in excess of $75,000;




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      d)     For an award of damages for mental anguish and emotional distress in

an amount in excess of $75,000;

      e)     For Plaintiff’s costs, disbursements and attorneys’ fees pursuant to law;

      f)     For Pre-judgment interest, as provided by law;

      g)     For all relief available under the ADA, including punitive damages and

reinstatement;

      h)     For such other and further relief available by statute; and

      i)     For such other and further relief as the Court deems just and equitable.

                           DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury.

                                Respectfully submitted,

                                /s/Roderick T. Cooks
                                Roderick T. Cooks (pro hac vice forthcoming)
                                Lee D. Winston (pro hac vice forthcoming)
                                Attorneys for the Plaintiff




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